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UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA, HON. SUSAN D. WIGENTON
Plaintiff; Civil Action No. 09-cv-01303
v. ORDER
MATTHEW HULL, MICHELE C. HULL, AND
AARON HULL,
Defendants.

 

 

Whereas Plaintiff United States of America (“United States” or “Plaintiff’) brought this
action on March 23, 2009, seeking a permanent injunction requiring Defendants Matthew Hull,
Michele C. Hull, and Aaron Hull (collectively, “Defendants”) to remove their obstruction and
blockade of Old Mine Road, as well as an order ejecting Defendants from possessing any portion
of Old Mine Road and for damages;

Whereas, on January 24, 2012, in ruling on the Parties’ cross-motions for partial
summary judgment, this Court found that the United States possessed the relevant property
interest in the previously-disputed portion of Old Mine Road and granted the United States’
request for a permanent injunction;

Whereas, on September 27, 2012, this Court ordered that the matter proceed to trial to
determine the amount of damages owed by Defendants to the United States and to determine
whether the United States owns the relevant portion of Old Mine Road in fee simple or some
other type of possessory interest;

Whereas, the parties resolved all remaining outstanding disputes as set forth at a Hearing
before Magistrate Judge Madeline Cox Arleo on January 4, 2013;

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Whereas, on January 4, 2013, each Defendant agreed on-the-record before. the Court that
the United States owns in fee simple the previously-disputed portion of Old Mine Road;

Whereas, on January 4, 2013, the Parties agreed upon the boundaries of the previously-
disputed portion of Old Mine Road, and the United States agreed to retain a surveyor to draft a
survey of the agreed-upon boundaries of the previously-disputed portion of Old Mine Road;

Whereas the terms of the Parties’ settlement are set forth in the transcript of the January
4, 2013 Hearing (“Settlement Agreement”), which is attached to this Order at Attachment A;

Whereas the surveyor retained by the United States, Gary Worley, N.J.P.L.S., prepared a
survey of the agreed-upon boundaries of the previously-disputed portion of Old Mine Road, and
that survey, dated January 14 2014, is attached at Attachment B (“Old Mine Road Survey”);

Whereas, on or before January 30, 2014, the United States provided to Defendants’
counsel the Old Mine Road Survey. (Dkt. No. 97-2);

Whereas, in an Opinion and Order dated November 30, 2017, the Court held that the
Settlement Agreement is an enforceable settlement agreement;

Whereas in an Opinion and Order dated November 30, 2017, the Court required inter alia
Defendants within 30 days to review the land survey and sign a written settlement decree, which
would then be filed in the Sussex County Clerk;

Whereas Defendants have failed to comply with November 30, 2017 Order; 4%

Whereas the Court has reviewed the Old Mine Road Survey at Attachment B and finds it
consistent with the terms 3 oF the Sett}ement Agreement;

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IT is on this Les of

ORDERED that the United

   
 

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es owns in fee simple the previously-disputed portion of

Old Mine Road; and it is further
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ORDERED that the Old Mine Road Survey attached at Attachment B sets forth the
agreed-upon boundaries of the previously-disputed portion of Old Mine Road, and it is further

ORDERED this Order, and its two attachments — that is, the Settlement Agreement at
Attachment A and the Old Mine Road Survey at Attachment B — shall be filed by the United
States in the Sussex County Clerk’s Office; and it is further

ORDRED that the Court retains jurisdiction over this civil action, including the
Settlement Agreement; and

It is further ORDERED that this matter i losed.

  

 

ENTO
strict Court Judge

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